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       Todd M. Friedman (SBN 216752)
 1     Adrian R. Bacon (SBN 280332)
 2     Meghan E. George (SBN 274525)
       LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3     21550 Oxnard St., Suite 780
       Woodland Hills, CA 91367
       Phone: 877-206-4741
       Fax: 866-633-0228
       tfriedman@toddflaw.com
       abacon@toddflaw.com
       mgeorge@toddflaw.com
 7
       Attorneys for Plaintiff

                      SUPERIOR COURT OF THE STATE OF CALIFONRNIA
 9                          FOR THE COUNTY OF LOS ANGELES
                                UNLIMITED JURISDICTION

11     JOHN SLOATMAN III, individually and on      ) Case No.
       behalf of all others similarly situated,
12                                                 ) CLASS ACTION


              vs.
                                                   )        1.   NEGLIGENT VIOLATIONS OF
       MEDCAH, INC., and DOES 1 through 10,        )             THE TELEPHONE CONSUMER
       ;nnll]qivp                                  (             PROTECTION ACT [47 U.S.C.
       mcluslve>                                                 §227 ET SEQ.]
                                                   (    2    .   WILLFUL VIOLATIONS O F
       Defendant.                                  )             THE TELEPHONE CONSUMER
                                                   )             PROTECTION ACT [47 U.S.C.
                                                   )             §227 ET SEQ.]
                                                   )        3.   VIOLATIONS OF THE
                                                   -)            ROSENTHAL FAIR DEBT
                                                   {             COLLECTION PRACTICES
                                                   ;             ACT [CAL. CIV. CODE §1788
21                                                               ET SEQ.]

22                                                 ) DEMAND FOR JURY TRIAL
23
24
              Plaintiff JOHN SLOATMAN III ("Plaintiff"), individually and on behalf of all others
25
       similarly situated, alleges the following against Defendant MEDCAH, INC., upon information
26
       and belief based upon personal knowledge:
27 "
28



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 1                                                INTRODUCTION
 2             1.   "    Plaintiffs Class Action Complaint is brought pursuant to the              Telephone
 3   Consumer Protection Act, 47 U.S.C. § 227 et seq. ("TCPA").
 4           2.         ' Plaintiff, individually, and on behalf of all others similarly situated, brings this
 5
     Complaint for damages, injunctive relief, and any other available legal or equitable remedies,
 6
     resulting from the illegal actions of Defendant              in negligently, knowingly, and/or willfully
 7
     contacting Plaintiff no Plaintiffs cellular telephone, thereby the TCP A, 47 U.S.C. § 227.
 8
     Plaintiff alleges as follows upon personal knowledge as to himself and his own acts and
 9
     experiences, and, as to all other matters, upon information and belief, including investigation
10
     conducted by his attorneys.
11
             3.          In addition to Plaintiffs Class Claims, Plaintiff also brings an action for damages
12
     as an individual consumer for Defendant's violations the Rosenthal Fair Debt Collection
13
     Practices Act, Cal Civ. Code §1788, et seq. (hereinafter "RFDCPA") which prohibits debt
14
     collectors from engaging in abusive, deceptive, and unfair practices.
15
16                                        JURISDICTION AND VENUE

17          4.           This Court has personal jurisdiction over Defendants. Defendants conducted

18   business within the State' of California, have purposely availed itself of the benefits and

19   protections of the State of California, and/or have sufficient contact with this State such that

20   maintenance of this action in this locale would be consistent with traditional notions of fair play
21   and substantial justice. Defendants maintain corporate offices and is incorporated in the State
22   ofHawaii.
23          5.           Plaintiff is a resident of California.
24          6.          Ancillary to Plaintiffs TCPA claims, this Court has jurisdiction pursuant to 28
25
     U.S.C. § 1367(a) over Plaintiffs claims .arising under the RFDCPA, Cal. Civ. Code § 1788, et
26
     seq. because they arise under the same case or controversy.
27
            7.          Venue is proper here, because Defendants conduct business in Los Angeles
28
     County.


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                                                       PARTIES
                  8.      Plaintiff, JOHN SLOATMAN III ("PLAINTIFF"), is a natural person residing in
    4     Los Angeles County in the state of California, and is a "person" as defined by 47 U.S.C. §

    5     153(39). Furthermore, Plaintiff is a "debtor" as defined by the RFDCPA, Cal. Civ. Code §

    6     I788.2(h).

                  9.      At all relevant times herein, Defendant, MEDCAH, INC. ("DEFENDANT"), is

          retail company engaged in collection activity in connection with debts allegedly owed to it. and

          is a "person" as defined by 47 U.S.C. § 153(39). Furthermore, Defendant, at all relevant times
 10
          herein, was a company engaged, by use of the mails and telephone, in the business of collecting
11
          an alleged debt from PLAINTIFF which qualifies as a "consumer debt" as defined by the
 12
          RFDCPA, Cal. Civ. Code § 1788.2(f). DEFENDANT regularly attempts to collect debts in the

          ordinary course of its business, and therefore is a "debt collector" as defined by the RFDCPA

          Cal. Civ. Code § 1788.2(c).
15
16                10.     Defendants acted through their agents, employees, officers, members, directors,

17        heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

18                11.     The above named Defendant, and its subsidiaries and agents, are collectively

19        referred to as "Defendants." The true names and capacities of the Defendants sued herein as

20        DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who therefore
21        sues such Defendants by fictitious names. Each of the Defendants designated herein as a DOE
22        is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of Court to
23        amend the Complaint to reflect the true names and capacities of the DOE Defendants when such
24        identities become known.
25
                  12.    Plaintiff is informed and believes that at all relevant times, each and every
"~) f-,
          Defendant was acting as an agent and/or employee of each of the other Defendants and was
27
          acting within the course and scope of said agency and/or employment with the full knowledge
28
          and consent of each of the other Defendants. Plaintiff is informed and believes that each of the


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 1   acts and/or omissions complained of herein was made known to, and ratified by, each of the
 2   other Defendants.
 3                                FACTUAL ALLEGATIONS - TCPA
 4            13.     Beginning as early as March of 2017, Defendant contacted Plaintiff on his
 5
     cellular telephone number ending in -1000, in an effort to collect an alleged debt owed from
 6
     Plaintiff.
 7
              14.     Defendant called Plaintiff from telephone numbers confirmed to belong to
 8
     Defendant, including without limitation (808) 266-2020.
 9
              15.     In its efforts to collect the alleged debt owed from Plaintiff, Defendant used an
10
     "automatic telephone dialing system/3 as defined by 47 U.S. C. § 227(a)(l) to place its daily calls
11
     to Plaintiff seeking to collect an alleged debt owed.
12
              16.     Defendant's calls constituted calls that were not for emergency purposes as
13
     defined by 47 U.S.C. § 227(b)(!)(A).
14
15            17.     Defendant's calls were placed to telephone number assigned to a cellular

16   telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §

17   227(b)(l).

18            18.     During all relevant times, Defendant did not possess Plaintiffs "prior express

19   consent" to receive calls using an automatic telephone dialing system or an artificial or
20   prerecorded voice on his cellular telephone pursuant to 47 U.S.C. § 227(b)(l)(A).
21            19.     Furthermore, Plaintiff orally revoked any and all consent to be contacted using
22   an automated telephone dialing system, to the extent any ever existed. -
23           20.      Despite Plaintiffs oral revocation of consent to be called, Defendant continued
24
     to call Plaintiff.
25
             21.      Plaintiff alleged upon information and belief, including without limitation her
26
     experience of being called by Defendant despite her explicit revocation of consent to be called,
27
     that Defendant failed to put in place reasonable policies and procedures to avoid violation of the
28
     TCPA.


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 1                                FACTUAL ALLEGATIONS - RFDCPA
 2           22.       In addition to the facts pled above, at various times prior to the filing of the instant
 3   complaint, including within one year preceding the filing of this complaint, DEFENDANT
 4   contacted PLAINTIFF in an attempt to collect an alleged outstanding debt.
 5           23.       Beginning March of 2017, Plaintiff began receiving numerous calls from
 6
     Defendant.
 7
             24.       Each of these calls were made to Plaintiff in connection with collection on an
 8
     alleged debt.
 9
             25.       After the initial contact, Plaintiff told Defendant to stop calling him, but
10
     Defendant continued to call.
11
             26.       The RFDCPA, Cal. Civ. Code § 1788.17 mandates that every debt collector
12
     collecting or attempting to collect a consumer debt shall comply with the Federal Fair Debt
13
     Collection Practices Act ("FDCPA"), 15 U.S.C. §§ 1692b through 1692J and be subject to the
14
15   remedies in the FDCPA, 15 U.S.C. § 1692k.

16          27. '      DEFENDANT'S conduct violated the RFDCPA in multiple ways, including but

17   not limited to:

18                 a) Causing a telephone to ring repeatedly or continuously to annoy Plaintiff (Cal.
                      Civ. Code § 1788.ll(d));
19
20                 b) Communicating, by telephone or in person, with Plaintiff with such frequency as
                      to be unreasonable and to constitute an harassment to Plaintiff under the
21                    circumstances (Cal. Civ. Code § 1788.ll(e));
22
                   c) Causing Plaintiffs telephone to ring repeatedly or continuously with intent to
23                    .harass, annoy or abuse Plaintiff (15 U.S.C. § 1692d(5));

24                 d) Communicating with Plaintiff at times or places which were known or should
                      have been known to be inconvenient for Plaintiff (15 U.S.C. § 1692c(a)(l));
25
26                 e) Engaging in conduct the natural consequence of which is to harass, oppress, or
                      abuse Plaintiff (15 U.S.C. § 1692d));
27
28



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                    f)   Failing to disclose Defendants true corporate or business name in a telephone
                         call to Plaintiff (§ I692d(6));


                    g) Using unfair or unconscionable means against Plaintiff in connection with an
                       attempt to collect a debt (§ 1692f));
 4
 5                  h) Collecting an amount from Plaintiff that is not expressly authorized by the
 ,                     agreement creating the debt (§ 1692f(l)); and

 7
                    i)   Collecting an amount from Plaintiff that is not permitted by law (§ 1692f(l)).
 8 "
 9            28.        As a result of the above violations of the RFDCPA, Plaintiff suffered and

10     continues to suffer injury to PLAINTIFF'S feelings, personal humiliation, embarrassment,

11     mental anguish and emotional distress, and DEFENDANT is liable to PLAINTIFF for

12     PLAINTIFF'S actual damages, statutory damages, and costs and attorney's fees.
13                                     CLASS ACTION ALLEGATIONS
14            29.        Plaintiff brings this action individually and on behalf of all others similarly
15     situated, under California Code of Civil Procedure §382, as a member of the proposed class

       (hereafter "The Class") defined as follows:
17
                         All persons within the United States who received any telephone
18                       calls from Defendant to said person's cellular telephone made
                         through the use of any automatic telephone dialing system or an
                         artificial or prerecorded voice and such person had not previously
20                       consented to receiving such calls within the four years prior to the
                         filing of this Complaint
21
22            30.        Plaintiff represents, and is a member of, The Class, consisting of All persons

23   within the United States who received any collection telephone calls from Defendant to said

24   person's cellular telephone made through the use of any automatic telephone dialing system or

25   an artificial or prerecorded voice and such person had not previously not provided their cellular

26   telephone number to Defendant within the four years prior to the filing of this Complaint.

27            31.        Defendant, its employees and agents are excluded from The Class. Plaintiff does

28   not know the number of members in The Class, but believes the Class members number in the



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 1   thousands, if not more. Thus, this matter should be certified as a Class Action to assist in the

 2 expeditious litigation of the matter.
 3           32.    The Class is so numerous that the individual joinder of all of its members is

 4 impractical. While the exact number and identities of The Class members are unknown to
 5   Plaintiff at this time and can only- be ascertained through appropriate discovery, Plaintiff is

 6 informed and believes and thereon alleges that The Class includes thousands of members.
 7 Plaintiff alleges that The Class members may be ascertained by the records maintained by
 8   Defendant.

 9           33.    Plaintiff and members of The Class were harmed by the acts of Defendant in at

10   least the following ways: Defendant illegally contacted Plaintiff and Class members via their

11   cellular telephones thereby causing Plaintiff and Class members to incur certain charges or

12   reduced telephone time for which Plaintiff and Class members had previously paid by having to

13   retrieve or administer messages left by Defendant during those illegal calls, and invading the

14   privacy of said Plaintiff and Class members.

15          34.     Common questions of fact and law exist as to all members of The Class which

16   predominate over any questions affecting only individual members of The Class. These common

17   legal and factual questions, which do not vary between Class members, and which may be

18   determined without reference to the individual circumstances of any Class members, include: but

19   are not limited to, the following:
20                  a.      Whether, within the four years prior to the filing of this Complaint,

21                          Defendant made any collection call (other than a call made for emergency

22                          purposes or made with the prior express consent of the called party) to a

23                          Class member using any automatic telephone dialing system or any
24                          artificial or prerecorded voice to any telephone number assigned to a

25                          cellular telephone service;

26                  b.      Whether Plaintiff and the Class members were damages thereby, and the

27                          extent of damages for such violation; and

28                  c.      Whether Defendant should be enjoined from engaging in such conduct in



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 1                           the future.

 2           35.     As a person that received numerous collection calls from Defendant using an

 3   automatic telephone dialing system or an artificial or prerecorded voice, without Plaintiffs prior

 4   express consent, Plaintiff is asserting claims that are typical of The Class.

 5           36.     Plaintiff will fairly and adequately protect the interests of the members of The
 6   Class. Plaintiff has retained attorneys experienced in the prosecution of class actions.

 7           37.     A class action is superior to other available methods of fair and efficient
 8   adjudication of this controversy, since individual litigation of the claims of all Class members is

 9   impracticable. Even if every Class member could afford individual litigation, the court system
10   could not.    It would be unduly burdensome to the courts in which individual litigation of
11   numerous issues would-proceed. Individualized litigation would also present the potential for
12   varying, inconsistent, or contradictory judgments and would magnify the delay and expense to
13   all parties and to the court system resulting from multiple trials of the same complex factual
14   issues. By contrast, the conduct of this action as a class action presents fewer management
15   difficulties, conserves the resources of the parties and of the court system, and protects the rights
16   of each Class member.

17          38.     The prosecution of separate actions by individual Class members would create a
18   risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

19   interests of the other Class members not parties to such adjudications or that would substantially
20   impair or impede the ability of such non-party Class members to protect their interests.
21          39.     Defendant has acted or refused to act in respects generally applicable to The Class,
22   thereby making appropriate final and injunctive relief with regard to the members of The Class
23   as a whole.
24                                    FIRST CAUSE OF ACTION
25                 Negligent Violations of the Telephone Consumer Protection Act
26                                          47U.S.C. §227etseq.
27                           By Plaintiff and The Class Against Defendant
28          40.     Plaintiff repeats and incorporates by reference into this cause of action the



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 1   allegations set forth above at Paragraphs 1-39.
 2           41.    The foregoing acts and omissions of Defendant constitute numerous and multiple
 3   negligent violations of the TCP A, including but not limited to each and every one of the above
 4   cited provisions of 47 U.S.C. § 227 et seq.
 5           42.    As a result of Defendant's negligent violations of 47 U.S.C. § 227 et seq.,
 6   Plaintiff and the Class Members are entitled an award of $500.00 in statutory damages, for each
 7   and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 8           43.    Plaintiff and the Class members are also entitled to and seek injunctive relief
 9   prohibiting such conduct in the future.
10                                  SECOND CAUSE OF ACTION
11         Knowing and/or Willful Violations of the Telephone Consumer Protection Act
12                                       47 U.S.C. §227 et seq.
13                          By Plaintiff and The Class Against Defendant
14          44.     Plaintiff repeats and incorporates by reference into this cause of action the
15   allegations set forth above at Paragraphs 1-39.
16          45.     The foregoing acts and omissions of Defendant constitute numerous and multiple
17   knowing and/or willful violations of the TCPA, including but not limited to each and every one
18   of the above cited provisions of 47 U.S.C. § 227 et seq.
19          46.     As a result of Defendant's knowing and/or willful violations of 47 U.S.C. § 227
20   et seq., Plaintiff and the Class members are entitled an award of $1,500.00 in statutory damages,
21   for each and every violation, pursuant to 47 U.S. C. § 227(b)(3)(B) and 47 U.S. C. § 227(b)(3)(C).
22          47.     Plaintiff and the Class members are also entitled to and seek injunctive relief
23   prohibiting such conduct in the future.
24                                 THIRD CAUSE OF ACTION
25                 Violations of the Rosenthal Fair Debt Collection Practices Act
26                                    Cal. Civ. Code § 1788 et seq.
27                           By Plaintiff, Individually, Against Defendant
28



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             48.     Plaintiff repeats and reincorporates by reference into this cause of action
 1
 2   allegations set forth above at paragraphs 1-28.

 3           49.     To the extent that Defendant's actions, counted above, violated the RFDCPA,
 4 those actions were done knowingly and willfully.
 5
                                    PRAYER FOR RELIEF
 6
          WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 7
 8                                    FIRST CAUSE OF ACTION
 9                 Negligent Violations of the Telephone Consumer Protection Act
10                                        47U.S.C §227etseq.
11                 • As a result of Defendant's negligent violations of 47 U.S.C. §227(b)(l), Plaintiff
12                   and the Class members are entitled to and request $500 in statutory damages, for
13                   each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
14                 • Any and all other relief that the Court deems just and proper.
15                                  SECOND CAUSE OF ACTION
16         Knowing and/or Willful Violations of the Telephone Consumer Protection Act
17                                        47 U.S.C. §227 et seq.
18                 • As a result of Defendant's willful and/or knowing violations of 47 U.S.C.
19                  §227(b)(l), Plaintiff and the Class members are entitled to and request treble
20                  damages, as provided by statute, up to $1,500, for each and every violation,
21                  pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
22                 • Any and all other relief that the Court deems just and proper.
23                                  THIRD CAUSE OF ACTION
24                  Violations of the Rosenthal Fair Debt Collection Practices Act
25                                    Cal. Civ. Code § 1788 et seq.
26
            WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant
27
     for the following:
28



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 1                   A.     Actual damages;

 2                  B.      Statutory damages for willful and negligent violations;

 3                   C.     Costs and reasonable attorney's fees;

 4                  D.      For such other and further relief as may be just and proper.
 5
                                             TRIAL BY JURY
 6
             50.     Pursuant to the seventh amendment to the Constitution of the United States of
 7
     America, Plaintiff is entitled to, and demands, a trial by jury.
 8
 9
                    Respectfully submitted this 14th day of March, 2017.
10
11
12                                  LAW OFFICES OFTODD M. FRIEDMAN, P.C
13
14                                  By;
                                            Todd M. Friedman
15
                                            Law Offices of Todd M. Friedman
16                                          Attorney for Plaintiff

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